Exhibit A
                   ANIMAL AND PLANT HEALTH INSPECTION SERVICE


           APPLICATION FOR LICENSE                                            Western Region
                            (TYPE OR PRINT)                                   2150 Centre Ave.
                                                                              Building B, Mailstop3WII
                                                                              Fort Collins, CO 80526-8117
                             ~RENEWAL                                         (970) 494-7478




                                                                                                                        TELEPHONE   (



                                                  cJ~,Utl,loG'   d<!»ad
                                                     S/Jm ~ .4 IJtJ~17~




DA-Zoo                       D B ·Aquariums           0 C -Auction
                                                                                                      6            0     ()             6
D D-Breeder                  0 E-Pets

0 G-Circus                   ¢(H - Animal Acts        0 I -Carnival           o Partnership       o Corporation  oo Individual
                                                                              o Other (Specify) _ _ _ _ _ _ _ _ _ _ _ _ _ __
0 J - Drive thru             D K- Pet Store           0 L. Broker
Zoo
                                                            9. LIST OWNERS, PARTNERS, AND OFFICERS

                                NAME AND TITLE                                                                 ADDRESS



                                                                                 IJJ /) R 1~1! I _f./.
                                                                               ;::c?s    lu..:.-            /?}a       b 3 o;;J i ·



                                                                                                                                            36

DOLLAR AMOUNT OF WHICH FEE IS BASED
(Sections 2.6 and 2.7)




I hereby make application for a license under the Animal Welfare Act 7 U.S.C •• 2131 et seq.         /~e~;~~~t ln~~~~~;~~'~ro;~~d herel~-ls
                                                                                                       the                              true
and correct to the best of my knowledge. I hereby acknowledge receipt of and certify to the best of my knowledge I am In compliance with all
            and standards In 9 CFR,          A, Parts 1, 2, and 3. I certify that I am over 18




                                                                                                                                        CASEY-00572
